     Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 1 of 41
                                                                     United States District Court
                                                                         Southern District of Texas
                    IN THE UNITED STATES DISTRICT COURT                     ENTERED
                     FOR THE SOUTHERN DISTRICT OF TEXAS                     June 25, 2021
                              HOUSTON DIVISION
                                                                         Nathan Ochsner, Clerk

IIITEC LIMITED,                            §
                                           §
                    Plaintiff,             §
                                           §
v.                                         §     CIVIL ACTION NO. H-19-3386
                                           §
WEATHERFORD TECHNOLOGY                     §
HOLDINGS, LLC,                             §
MARATHON OIL COMPANY, and                  §
IN-DEPTH SYSTEMS, INC.,                    §
                                           §
                    Defendants.            §



                          MEMORANDUM OPINION AND ORDER

       Plaintiff,     iiiTec       Limited,    brings   this    action     against

defendants, Weatherford Technology Holdings, LLC ("Weatherford"),

Marathon Oil Company          ("MOC"),    and In-Depth Systems,     Inc.        ("In­

Depth 1'), seeking declaratory judgment that Weatherford does not

have rights to any Assigned IP subject to iiiTec's exlcusive

license (Count I), that iiiTec's exclusive license of the Assigned

IP is valid and binds Weatherford (Count II), breach of contract

(Count III), and attorney's fees (Count IV).               Pending before the

court are Plaintiff's Letter Brief in Support of an Implied License

("Plaintiff's Letter Brief") (Docket Entry No. 16 o), Defendants'

Response to Plaintiff's Letter Brief                (\'Defendants' Response")

(Docket Entry       No.    161),    and   Plaintiff's   Reply    (Docket Entry

No. 168).     For the reasons stated below, the court concludes that

defendants are entitled to summary judgment because Plaintiff has

failed to cite evidence capable of establishing that MOC granted it

an implied exclusive license to any Assigned IP.
      Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 2 of 41



                                      I. Background

        MOC licensed Radio Frequency Ident             ication Device ("RFID")
technology to In-Depth Systems, Inc. ("In-Depth") pursuant to an

agreement entered into as of May 3, 2001, an Addendum entered on
April 7, 2006, and an Addendum No. 2 entered on April 26, 2010. 1

        In-Depth sub-licensed portions of the RFID technology licensed
from MOC to Plaint            f pursuant to a License Agreement entered on

January 30, 2007, and amended on November 1, 2007. 2                The portions
of     RFID     technology     that     In-Depth   sub-licensed    to   Plaintiff

pertained to "RFID Reverse Application Drilling Assembly" and "RFID

Reverse Application Methods".3
        On August 19,         2008,    Plaintiff entered into a Technology
Development Agreement            ("TDA") with MOC and Petrowell Limited

("Petrowell"), 4 pursuant· to which MOC agreed to fund development of
RFID technology with up to $20 million over a four-year period, 5
and     Plaintiff       and    Petrowell,       referred   to   collectively   as



      Amended and Restated License Agreement by and between [MOC]
        1

and In-Depth, Docket Entry No. 98-1, pp. 2 ("entered into as of
May 3, 2001), 27-29 (Addendum), 30-34 (Addendum No. 2). Page
numbers for docket entries refer to the pagination inserted at
the top of the page by the court's electronic filing system.
      See License Agreement, Docket Entry No. 98 13, pp. 37 40,
        2

and Docket Entry No. 98-14, pp. 2-19.
        3
            Id. at§§    1.03-1.04, Docket Entry No. 98-13, pp. 38-39.
        4
            Docket Entry No. 1 2.
        5
            Id. at§    2, Docket Entry No. 1-2, pp. 5-6.
                                            2
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 3 of 41



"Developers," 6 agreed that

      [a] ny IP that is conceived, originated or developed
     solely or jointly by any Developer Entity, with or
     without MOC and any third party, . . . and any IP that is
     derived by any Developer Entity from, arising out of, or
     relating to the RFID Technoloy or Confidential
     Information, shall belong to MOC and be owned solely by
     MOC, and the Developer Entities hereby assign to MOC all
     right, title and interest therein, including all interest
          copyrights ("Assigned IP"). Accordingly, except as
     expressly set forth herein, no Developer Entity shall
     have rights to IP developed .       . or derived by any
     Developer Entity from, arising out of, or relating to the
     RFID Technology or Confidential Information. Developers
     shall develop, use, maintain and document policies,
     processes and systems approved by MOC to diligently
     protect MOC's rights in Assigned IP and to report the
     development of material Assigned IP to MOC. Developers
     shall provide MOC with access to such policies, processes
     and systems, and to documentation of Assigned IP, and
     shall include information regarding the same and its
        forts to protect Assigned IP in annual reports and at
     MOC' s request. 7
The TDA also provided that

     MOC shall grant to In-Depth or Developers licenses in any
     Assigned IP ("Assigned IP Licenses") , depending on MOC' s
     agreement with In-Depth and others.       If assigned to
     Developers, the Assigned IP Licenses shall be exclusive
     to Petrowell in the Completion Field and to iiiTec in the
     Drilling Field or Coiled Tubing Field.           iiiTec' s
     Assigned IP Licenses will survive so long as the Drilling
     Field and Coiled Tubing Technology Development Fees are
     paid to MOC and    iTec is otherwise in compliance with
     its obligations in this Agreement.       The Assigned IP
     Licenses may be sublicensed by the Developers within




     6
      Id. at 1. See also id. § 1.9, Docket Entry No. 1 2, p. 3
(defining "Developer Entities" to "mean[] both Developers, their
Affiliates and their collective Representatives, Contractors and
Licensees").
     7
         Id. at§ 9.6, Docket Entry No. 1 2, p. 13.
                                     3
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 4 of 41



      their respective f          lds.8

      On August25,2008, MOC and In-Depth executed a Memorandum of
Understanding ("MOU") stating, inter alia, that
      [t]o the extent that [MOC] receives intellectual property
      ownership pursuant to the program and licenses such
      intellectual property to In-Depth, In-Depth will promptly
      sub-license such intellectual property to Petrowell and
      iiiTec on the same basis as In-Depth currently licenses
      RFID    technology    (including   reverse    application
      technology) to Petrowell and iiiTec, but without any
      additional royalty or other fee. 9
      On May 5,2009, Plaint          f and Weatherford Switzerland Trading

and Development GmbH ( "Weatherford Switzerland") , a Weatherford
  filiate, entered into a Manufacturing and Distribution Agreement
( "MDA") ,      pursuant     to   which       Plaintiff     granted   Weatherford

Switzerland and its affiliates a sub-license to all of Plaintiff's
intellectual property relating to RFID, and Weatherford Switzerland

agreed to pay Plaintiff a percentage of all tools sold or rented by

Weatherford Switzerland or its affiliates to end users.                10



      In early2013 Plaintiff paid MOC$ 290,801.24 explaining that
      [a]fter last year's transactions with Weatherford, Inc.,
      we are now in a position to settle the Royalties due on
      the iiiTec RFID business.
           The royalties are derived wholly from the
      Manufacturing and Distribution Agreement between iiiTec
      and Weatherford Inc. . .



      8
          Id.   at§   9.9, Docket Entry No. 1-2, p.         14.
      9
          Docket Entry No.    94-13, p.2       1   3.
      10
           MDA,§§2.1, 3.1, Docket Entry No.             98 13, pp. 3-4, and 5.
                                          4
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 5 of 41



           Under the Technology Agreement iiiTec is due to pay
      (MOC] at a rate of 17.5%. This amounts to$ 290,801.24.11

      In      April    2017,   MOC   and   Weatherford   entered   into     an
Intellectual Property Purchase Agreement            ("IPPA"), pursuant to

which MOC sold all of its \\RFID Patents" and "RFID Technology" to

Weatherford "subject to any and all rights and licenses granted" by
MOC to others pursuant to certain contracts listed in the IPPA,
including the TDA. 12 The IPPA also \\assign [ed] , transfer [red] , and
convey(ed] to [Weatherford] all of [MOC's] rights, interests, and
obligations in and under" certain contracts that were "assignable
without the consent of a third party."13
      In early 2017, Plaintiff sued Weatherford Switzerland in

Harris County District Court, claiming it was owed royalties under
the MDA,         lawsuit was removed to this court, and dismissed for
violation of the MDA's forum selection clause.14
      On June 14, 2017, In-Depth sent Plaintiff a notice of breach
advising Plaintiff that it owed$1.3 million in royalties pursuant

to§   2.03 of the parties' license agreement, and when Plaintiff

failed to make payment, In-Depth sent another letter terminating



      February 1, 2013, Email to MOC's Phil Snider ("Snider)
      11

from Plaintiff's Stuart Tait ("Tait"), Docket Entry No. 98-4.
      12
           IPPA,§§    2.1-2.2, Docket Entry No. 95-8, pp. 4-5.
      Id. at§ 2.4, Docket Entry No. 95-8, p. 5, and Exhibit C
      13

thereto (listing contracts assigned to Weatherford).
      14
           See Civil Action No. 4:18-1191, Docket Entry No. 81.
                                       5
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 6 of 41



the license agreement. 15          In-Depth then commenced arbitration

against Plaintiff for breach of contract, and on October 17, 2019,

arbitrators entered a final award in favor of In-Depth. 16

     On September 6,       2019,    Plaint    f filed this action seeking

declaratory judgment that the IPPA does not grant Weatherford
rights to any Assigned IP subject to Plaintiff's exclusive license
(Count I),     or,    in the alternative,      that Plaintiff's exclusive
license of the Assigned IP under the TDA is valid and binds
Weatherford      (Count    II),    damages,    specific   performance,      and

injunctive relief for Weatherford's breach of the TDA (Count III),
and reasonable and necessary attorneys' fees pursuant to the

Federal Declaratory Judgment Act (Count IV). 17

     After Plaintiff filed a Second Amended Complaint (Docket Entry
No. 77) reasserting the same causes of action, Weatherford moved
for summary judgment on all four counts (Docket Entry No. 93), and

Plaintiff moved for summary judgment on Counts I and II (Docket
Entry No. 97).       On December 1, 2020, the court entered a Memorandum
and Order (Docket Entry No. 144) denying Plaintiff's motion for
summary judgment on Counts I and II, and granting Weatherford's

motion for summary judgment in limited part, holding that the TDA


      August 14, 2017, Letter from J. David Cabello to Tait,
     15

Thomas Doig ("Doig"), and Kelly Stephens, Docket Entry No. 115 6.
      Final Award of Arbitrators, International Center for
     16

Dispute Resolution, No. 01 18-0001-5994, Docket Entry No. 115-7.
     17
          0riginal Complaint, Docket Entry No. 1-6, pp. 10 13.
                                       6
    Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 7 of 41



did not provide Plaintiff an express license to Assigned IP, 18 and

that MOC is a necessary party with respect to Counts I, II, and
III. 19    The court denied Weatherford's motion for summary judgment
on Counts I, I�, and III because Weatherford failed to show beyond
dispute that Plaintiff does not have an implied exclusive license

to Assigned IP, 20 and that if Plaintiff has an implied exclusive

license to Assigned IP, then Weatherford purchased the Assigned IP

subject      to    that    license. 21     The   court    denied        as    premature

Weatherford's motion for summary judgment on Plaintiff's claim for
attorney's fees asserted in Count IV. 22

      On December 15,          2020,     Plaintiff filed its Third Amended

Complaint         (Docket Entry No.      146),   adding MOC and In-Depth as
defendants,        and    reasserting     the    same    causes    of        action   for
declaratory judgment that Weatherford does not have rights to any
Assigned IP subject to iiiTec's exclusive license (Count I), or, in
the alternative, that Plaintiff's exclusive license of the Assigned
IP is valid and binds Weatherford (Count II), breach of contract



      18
           Memorandum and Order, Docket Entry No. 144, pp. 23-26.
      19
           Id. at 47.
      20
           Id. at 13-18.
          at 37-39, and 43 ("genuine questions of material fact
exist regarding whether [Plaintiff] was granted a license to the
Assigned IP and whether Weatherford owns the Assigned IP subject
to [Plaintiff's) rights").


                                           7
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 8 of 41



claim regarding the TDA (Count III), and reasonable and necessary

attorneys' fees pursuant to the Federal Declaratory Judgment Act

( Count     IV)   . 23

      During the pre-trial conference held on December 17, 2020, the
court informed Plaintiff that it had the burden of showing the
existence and terms of its alleged implied exclusive license, 24 and
ordered Plaintiff to submit an opening letter brief "in support of
the creation and terms of an implied license." 25       The court ordered

Defendants to file their own letter brief in support of their
argument that no implied license exists, to which Plaintiff could

reply. 26     On February 8, 2021, Plaintiff filed Plaintiff's Letter
Brief (Docket Entry No. 160).        On February 15, 2021, Defendants
filed their Response in which they argue that "iiiTec's arguments
in its Letter Brief should be rejected," and that "iiiTec has no
exclusive implied license to Assigned IP from [MOC] as a matter of

law and the Court should dismiss iiiTec's claims." 27          On February
23, 2021, Plaintiff filed its Reply {Docket Entry No. 168).




      23
           Third Amended Complaint, Docket Entry No. 146, pp. 36-44.
      Transcript of Pretrial Conference, Docket Entry No. 152,
      24

pp. 29:1-31:13.
      25
           Telephone Hearing Minutes and Order, Docket Entry No. 150.
           See also Transcript of Pretrial Conference, Docket
Entry No. 152, p. 31:6-8.
      27
           Defendants' Response, Docket Entry No. 161, p. 19      1   5.
                                     8
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 9 of 41



     The court reads Defendants' Response (Docket Entry No. 161) as

a motion for summary judgment that Plaintiff is unable to cite

evidence capable of establishing that it possesses an implied
exclusive license to any Assigned IP. 28



                        II.     Standard of Review

     Summary judgment is authorized         the movant establishes that
there is no genuine dispute about any material fact and the law

entitles it to judgment.        Fed. R. Civ. P. 56.      See also Celotex

Corp. v. Catrett, 106 S. Ct. 2548, 2552 (1986).            Disputes about

material facts are "genuine"         if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510 (1986).               A
party moving for summary judgment "must 'demonstrate the absence of
a genuine issue of material fact,' but need not negate the elements
of the nonmovant s case. "
                   1
                                  Little v. Liguid Air Corp., 37 F.3d
1069, 1075 (5th Cir. 1994) (en bane) (quoting Celotex, 106 S. Ct.
at 2553)).    If the moving party meets this burden, the nonmovant
must go beyond the pleadings and show by admissible evidence that

facts exist over which there is a genuine issue for trial.                  Id.
Factual controversies are to be resolved in favor of the nonmovant,
"but only when .              both parties have submitted evidence of


          at 1 ("iiiTec cannot meet its burden to prove that it
has, or ever had, an implied exclusive license to the Assigned
IP" ).
                                      9
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 10 of 41



contradictory facts."     Id.   "[T]he court must draw all reasonable

inferences in favor of the nonmoving party, and it may not make
credibility determinations or weigh the evidence."              Reeves v.

Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).



                             III.   Analysis

     Asserting that "[t]his Court has already decided [that] the
issue of an implied license is a fact question," 29 and that "[t]he
[parties'] correspondence and actions support [it's] claim [to an

exclusive implied license],' " 30 Plaintiff argues that "the case
should proceed to full discovery and trial." 31       Defendants respond
that Plaintiff "cannot meet its burden to prove that it has, or

ever had, an implied exclusive license to the Assigned IP."32




      Plaintiff's Letter Brief, Docket Entry No. 160, p. 1. See
     29

also Plaintiff's Reply, Docket Entry No. 168, p. 12 ("The ruling
on the original summary judgment motion expressly states that the
implied license is an issue of fact which requires weighing
evidence.").
     30
       Plaintiff's Letter Brief, Docket Entry No. 160, p. 5.
also Plaintiff's Reply, Docket Entry No. 168, p. 13 ("iiiTec's
evidence establishes that all parties acted as if iiiTec had an
exclusive license for coiled tubing and drilling fields;" "there
is evidence which shows the parties intended for Marathon to make
iiiTec its exclusive licensee to the TDA developments (Assigned
IP)").
     31
          Plaintiff's Letter Brief, Docket Entry No. 160, p. 12.
     32
          Defendants' Response, Docket Entry No. 161, p. 1.
                                    10
     Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 11 of 41



A.     Applicable Law

       1.      Implied License
       Plaintiff's claim to an implied license to Assigned IP rests
on the Federal Circuit Court's opinion in Wang Laboratories, Inc.

v. Mitsubishi Electronics America, Inc., 103 F.3d 1571 (Fed. Cir.),
cert. denied, 118 s. Ct. 69 (1997), where the existence of an

implied license was at           sue. 33    Wang sued Mitsubishi for patent
infringement.        At trial Mitsubishi argued that Wang's conduct
created an implied license under the patent in suit.              The parties
agreed to submit Mitsubishi's implied license defense to the jury,

which found that an implied license existed.             The district court
entered judgment on the jury's verdict, adding the rationale that

the implied license arose "under the doctrine of legal estoppel."
Id. at 1578.        On appeal the Federal Circuit upheld the district
court's judgment that Mitsubishi had an implied license, but held
that           implied license was "in the nature of equitable rather
than legal estoppel,        because the license arose from an accord
implic        in the entire course of conduct between the parties."        Id.
at 1582.

       In reaching its dee       ion the Wang court applied the following
five-part test for determining whether a factual basis for an
implied license exists:
        (1) a relationship existed between Wang and Mitsubishi,


       33
            Plaintiff's Letter Brief, Docket Entry No. 160, p. 6.
                                           11
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 12 of 41



     (2) within that relationship, Wang granted to Mitsubishi
     a right to use its [intellectual property], (3) Wang
     received valuable consideration for that grant of right,
     (4) Wang denied that Mitsubishi had an implied license,
     and (5) Wang's statements and conduct created the
     impression that Wang consented to Mitsubishi making,
     using, or selling the patented inventions, including
     sales to consumers other than Wang.
Id. at 1579.   See also Mass Engineered Design, Inc. v. Ergotron,
Inc., 633 F. Supp. 2d 361, 388 (E.D. Tex. 2009) (applying the same
five-part test to conclude that "the affirmative acts and 'course
of conduct' between the parties . . . suggest an implied license").

Part three regarding consideration was the only element of the
five-part factual basis test challenged in Wang.              The Federal

Circuit began its analysis by satisfying itself that substantial
evidence in the record supported the jury's finding that the
element of valuable consideration had been satisfied.               Having
determined that a factual basis existed for an implied license, the
court analyzed whether established facts           supported the legal
conclusion that an implied license existed.

     The court began its legal analysis by quoting the Supreme
Court's opinion in De Forest Radio Telephone          &   Telegraph Co. v.
United States, 47 S. Ct. 366, 367 (1927), stating           that
    [n]o formal granting of a license is necessary in order
    to give it effect. Any language used by the owner of the
    patent, or any conduct on his part exhibited to another,
    from which that other may properly infer that the owner
    consents to his use of the patent in making or using it,
    or selling it, upon which the other acts, constitutes a
    license and a defense to an action for a tort.
Wang, 103 F.3d at 1580.     The court observed that

                                    12
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 13 of 41



    [s]ince De Forest, this court and others have attempted
    to identify and isolate various avenues to an implied
    license. As a result, courts and commentators relate
    that implied licenses arise by acquiescence, by conduct,
    by equitable estoppel (estoppel in pais), or by legal
    estoppel.   . These labels describe not different kinds
    of licenses, but rather different categories of conduct
    which lead to the same conclusion: an implied license.
    The label denotes the rationale for reaching the legal
    result.

    . . . The opinions that hew most closely to the De Forest
    language and the "entire course of conduct" analysis rely
    on the doctrine of equitable estoppel, because De Forest
    requires that conduct of the patentee led the other to
    act.

         Neither this court nor the Supreme Court, however,
    has required a formal finding of equitable estoppel as a
    prerequisite to a legal conclusion of implied .license. .
    . To do so would remove all distinction between the
    doctrines. Rather the estoppel doctrines serve as
    guidelines.        The primary difference between the
    estoppel analys     in implied license cases and the
    analysis in equitable estoppel cases is that implied
    license looks for an affirmative grant of consent or
    permission to make, use, or sell: i.e., a license.
    Equitable estoppel, on the other hand, focuses on
    "misleading" conduct suggesting that the patentee will
    not enforce patent rights.        [A] typical equitable
    estoppel situation [i]s one in which (1) the infringer
    knows of the patent, (2) the patentee objects to the
    infringer's activities, (3) but the patentee does not
    seek relief until much later, (4) thereby misleading the
    infringer to believe the patentee will not act . . . Thus
    the two doctrines are not coterminous.

         Legal estoppel refers to a narrower category of
    conduct encompassing scenarios where a patentee has
    licensed or assigned a right, received consideration, and
    then sought to derogate from the right granted.
Id. at 1580 81.   Observing that whether an implied license exists
   a legal conclusion, id. at 1580, and that "judicially implied
licenses are rare under any doctrine," id. at 1581, the court


                                    13
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 14 of 41



concluded that       "Mitsubishi proved that the       'entire course of

conduct' between the parties over a six-year period led Mitsubishi

to infer consent to manufacture and sell the patented products."
Id. at 1581-82. The burden of proving implied license rests on the
party claiming an implied license.          Augustine Medical, Inc. v.
Progressive Dynamics, Inc., 194 F.3d 1367, 1370         &   n. 2 (Fed. Cir.

1999) (noting plaintiff argued "that an implied license was created

depriving     [it]   of   its   rightful   property   rights[;   but   that
n]ormally, the accused infringer argues that an implied license

exists in order to avoid infringement").


      2.     Exclusive License
      To be an exclusive licensee, a party must have received both

the right to practice the invention within a given territory or
field, and the patentee's express or implied promise that others
shall be excluded from practicing the invention within that
territory or field.             Rite-Hite Corp. v. Kelley Co., Inc., 56
F.3d 1538, 1552 (Fed. Cir.) (en bane), cert. denied, 116 S. Ct. 184
(1995) (citing Independent Wireless Telegraph Co. v. Radio Corp. of
America, 46 S. Ct. 166, 169 (1926)).

      If the party has not received an express or implied
      promise of exclusivity under the patent, i.e., the right
      to exclude others from making, using, or selling the
      patented invention, the party has a "bare license," and
      has received only the patentee's promise that the party
      will not be sued for infringement.
Id.        "The grant of a bare license to sell an invention in a

                                     14
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 15 of 41



specified territory            [or field], even if it is the only license

granted by the patentee,            does not provide standing without the

grant of a right to exclude others."                Id. at 1553.      See also

Textile Products, Inc. v. Mead Corp., 134 F.3d 1481, 1483-84 (Fed.

Cir. 1998)             (describing the rights of an exclusive licensee to

bring suit for patent infringement in its own name).



      3.          Texas Contract Law
      "A license agreement is a contract governed by ordinary

principles             state contract law."   Power Lift, Inc. v. Weatherford

Nipple-Up Systems, Inc., 871 F.2d 1082, 1085 (Fed. Cir. 1989).

Citing      §     28 of the TDA,     which provides that "[t]he validity,
construction, interpretation and effect of this Agreement will be

governed by and interpreted in accordance with the laws of the
United States and the State of Texas,               USA,   without regard to
conflict rules which would otherwise apply the laws of another

jurisdiction, " 34 Defendants argue that "Texas contract law
controls. " 35         Plaintiff does not dispute the applicability      Texas

contract law and, in fact, cites Texas case law in support of at

least some of its arguments.36



      34
           TDA,    §   28, Docket Entry No. 1-2, p. 26.
      35
           Defendants' Response, Docket Entry No. 161, p. 4.
      Plaintiff's Letter Brief, Docket Entry No. 160, pp. 6 and
      36

9, and Plaintiff's Reply, Docket Entry No. 168, pp. 2, 5-6.
                                         15
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 16 of 41



       The Texas Supreme Court has explained that

       the distinction between an express contract and one
       implied in fact is that the former arises when the
       contractual terms are stated by the parties; and that the
       latter arises from the acts and conduct of the parties,
       it being implied from the facts and circumstances that
       there was a mutual intention to contract.

Haws     &   Garrett General Contractors,     Inc. v. Gorbett Brothers
Welding Co., 480 S.W.2d 607, 609 (Tex. 1972).           The Fifth Circuit
has stated that

       [u]nder Texas law, " [t]he elements of a contract, express
       or implied, are identical."       Plotkin v. Joekel, 304
       S.W.3d 455, 476 (Tex. App.-Houston [1st Dist.] 2009, pet.
       denied) (internal quotation marks omitted). "[T] he real
       difference between express contracts and those implied in
       fact is in the character and manner of proof required to
       establish them." Id. at 476-77 (alteration in original)
       (internal quotation marks omitted). "[T]he elements of
       either type of contract are (1) an offer, (2) an
       acceptance, (3) a meeting of the minds, (4) each party's
       consent to the terms, and (5) execution and delivery of
       the contract with the intent that it be mutual and
       binding." Id. at 476 (internal quotation marks omitted).
Electrostim Medical Services, Inc. v. Health Care Service Corp.,
614 F. App'x 731, 744 (5th Cir. 2015) (per curiam).

       The determination of a meeting of the minds, and thus
       offer and acceptance, is based on the objective standard
       of what the parties said and did and not on the
       subjective state of mind. Additionally, consideration is
       a fundamental element of any valid contract.

Amco Energy, Inc. v. Tana Exploration Corp. (In re Capco Energy,
Inc.),       669 F.3d 274,   280   (5th Cir. 2012)   (quoting Copeland v.
Alsobrook, 3 S.W.3d 598, 604 (Tex. App.           San Antonio 1999, pet.
denied)).        See also Texas Farm Bureau Cotton Association v.
Stovall, 253 S.W. 1101, 1105 (Tex. 1923) ("The rule is simply that

                                      16
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 17 of 41



a contract must be based upon a valid consideration, and that a

contract     which there is no consideration moving from one party,

or no obligation upon him, lacks mutuality, is unilateral, and
unenforceable."}.    The Texas Supreme Court has explained that
     [c]onsideration is a present exchange bargained for in
     return for a promise. . . It consists of either a benefit
     to the promissor or a detriment to the promisee. . . The
     detriment must induce the making of the promise, and the
     prom�se must induce the incurring of the detriment.

Roark v. Stallworth Oil     &   Gas, Inc., 813 S.W.2d 492, 496 {Tex.

1991) {citations omitted).
     To be legally binding a contract must be sufficiently definite

   its terms so that a court can determine the respective legal
obligations of the parties.       Cole v. Sandel Medical Industries,
L.L.C., 413 F. App'x 683, 686 (5th Cir. 2011} {per curiam) {citing

Fort Worth I.S.D. v. City of Fort Worth, 22 S.W.3d 831, 846 {Tex.
2000}}.    "Texas courts have consistently held that a contract may
be held void for indefiniteness if it fails to specify 'the time of

performance, the price to be paid, the work to be done, the service
to be rendered, or the property to be transferred.'"            Liberto v.
D.F. Stauffer Biscuit Co.,       441 F.3d 318,     324   {5th Cir. 2006}
{quoting University National Bank v. Ernst        &   Whinney, 773 S.W.2d

707, 710 {Tex. App. - San Antonio 1989, no writ)}.              "The rules
regarding indefiniteness of material terms of a contract are based
on the concept that a party cannot accept an offer so as to form a

contract unless the terms of that contract are reasonably certain."


                                    17
     Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 18 of 41



      , 413 F. App'x at 686 (quoting Fort Worth I.S.D., 22 S.W.3d at

846).        "There is no authority to ask a jury to supply an essential

term in the contract which the parties were unable to complete by

mutual agreement.      11
                            Richter, s.A. v. Bank of America National Trust
and Savings Association, 939 F.2d 11 76, 1196               (5th Cir. 1991)

(quoting University National Bank, 773 S.W.2d at 710).



B.      Application of the Law to the Parties Arguments

        1.      The Court's Previous Ruling is Not Controlling
        Citing the Memorandum and Order issued on December 1, 2020,
Plaintiff argues that this action should proceed to discovery and
trial because "[t]his Court has already decided the issue of an

implied license is a fact question. 1137          Defendants respond that
"[t]he Court's Summary Judgment Order does not resolve the implied
license issue," 38 and that "[a]s a result, the Court ordered limited
discovery on the implied license issue and ordered the parties to
then brief the issue so that a resolution might be reached." 39


      Plaintiff's Letter Brief, Docket Entry No. 160, p. 1.
        37

     Plaintiff's Reply, Docket Entry No. 168, p. 12 ("The ruling
on the original summary judgment motion expressly states that the
implied license is an issue of fact which requires weighing
evidence.").
        38
             Defendants' Response, Docket Entry No. 161, p. 14.
      Id. See also Plaintiff's Letter Brief, Docket Entry
        39

No. 160, p. 1 ("Pursuant to this Court's Order (Doc. 150) and
related hearing, iiiTec respectfully presents this letter brief
in support of the creation and terms of an implied license in
                                                   (continued ...)
                                        18
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 19 of 41



        The court's December 1, 2020, Memorandum and Order denying the

parties' cross-motions for summary judgment was interlocutory, not

final.        See Moody v. Seaside Lanes (In re Moody), 825 F.2d 81, 85

& n. 3 (5th Cir. 1987) ("finality             generally absent until the
district court renders a decision that 'ends the litigation on the

merits'").        Federal Rule of Civil Procedure 54(b) provides that
"any order or other decision, however designated, that adjudicates
fewer than all the claims or the rights and liabilities of fewer
than all the parties . . . may be revised at any time before the

entry of [a final judgment]."             "Rule 54(b) 's approach to the

interlocutory presentation of new arguments as the case evolves can
be . . . flexible, reflecting the 'inherent power of the rendering
district court to afford such relief from interlocutory judgments

as justice requires.'" Austin v. Kroger Texas, L. P., 864 F.3d 326,

337 (5th Cir. 2017) (per curiam) (quoting Cobell v. Jewell, 802
F.3d 12, 25 (D.C. Cir. 2015) (quoting Greene v. Union Mutual Life

Insurance Co. of America, 764 F.2d 19, 22 (1st Cir. 1985)(Breyer,
J.)).        "[T]he power to reconsider or modify interlocutory rulings
'is committed to the discretion of the district court.'".

(citations omitted).        See also Moses H. Cone Memorial Hospital v.
Mercury Construction Corp., 103 S. Ct. 927, 935 (1983) (noting that
"every order short of a final decree is subject to reopening at the



       ( ••• continued)
        39

favor of iiiTec.").
                                     19
     Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 20 of 41



discretion of the district judge").          "[A] trial court [is] free to

reconsider and reverse [interlocutory orders] for any reason it
deems sufficient,       even in the absence of new evidence or an

intervening change in or clarification of the new law."
ex rel. SBC Telephone Concession Plan v. SBC Communications, Inc.,

677 F.3d 720, 727 28 (5th Cir.),            cert. denied, 113 S. Ct. 318

(2012). Moreover, "when a successor judge replaces another judge,

'[t]he successor judge has the same discretion as the first judge
to    reconsider     [the   first    judge's]    order."       Id.   at   728.

Accordingly, the court's prior ruling that the issue of implied

license is a fact question is not controlling,                 and does not
preclude the court from reconsidering the implied license issue.


       2.    Plaintiff Has Failed to Cite Evidence Capable of
             Establishing Either the Existence or Material Terms of an
             Implied Exclusive License

       Plaintiff argues that Defendants are not entitled to summary
judgment that it did not have an implied exclusive license to

Assigned IP because "[t]he [parties'] correspondence and actions
support [its] claim [to an exclusive implied license]. 1140 Asserting


      Plaintiff's Letter Brief, Docket Entry No. 160, p. 5. See
       40

also Third Amended Complaint, Docket Entry No. 146, pp. 6 118
(alleging that "the part   ' intent was clear from the outset of
the relationship, and carried forward to later conduct as to the
fact that iiiTec would have exclusive market control over the
entire portfolio of [MOC's] RFID technology for the drilling and
coiled tubing fields"), 23-25 11 75-80 ( leging "[t]he parties'
conduct proves iiiTec's license"); Plaintiff's Reply, Docket
                                                    (continued...)
                                       20
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 21 of 41



that Plaintiff's "claim of an alleged implied license falls apart

when attempting to identify its terms, 1141 Defendants argue that

there       no evidence of consideration or a meeting of the minds for
an alleged implied exclusive license, 42 and that the alleged implied

license        s for indefiniteness of material terms, particularly,
effective date, duration, and terms for payment. 43



              (a)   Plaintiff Fails to Cite Evidence Capable of
                    Establishing the Existence of an Implied License
        Citing Mass Engineered Design,      633 F.    Supp.   2d at 388,

Plaintiff argues that the existence of an implied exclusive license
is a fact issue for trial because

     [t]here is evidence that 1) there was an existing
     relationship between iii Tee and Marathon dating to at
     least 2006; 2) within that relationship, Marathon
     transferred a right to use the IP to iiiTec; 3) the IP
     rights were transferred for valuable consideration;
     4) Marathon has now denied the existence of the right;
     and 5) Marathon's statements and conduct created the
     impression that it consented to iiiTec making, using, or
     selling the IP. 44



        ( ••• continued)
     40

Entry No. 168, p. 13 ("iiiTec's evidence establishes that     1
part       acted as if ii   had an exclusive license for coiled
tubing and drilling fields; 11 "there is evidence which shows the
par.ties intended for Marathon to make ii      its exclusive
licensee to the TDA developments (Assigned IP)").
     41
          Defendants' Response, Docket Entry No. 161, p. 4.
              at 4-6 and 9.
             at 6-9.
     44
          Plaintiff's Letter Brief, Docket Entry No. 160, p. 6.
                                    21
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 22 of 41



Plaintiff     has   cited   the   five-part   Federal   Circuit   test   for

determining if a patentee has granted an implied license, see Wang,
103 F.3d at 1579, and has cited at least one item of evidence that

it argues supports each element of that test.45           Defendants only
seriously contest Plaintiff's ability to cite evidence capable of

establishing element 3 of the five-part test, i.e., that MOC
transferred to Plaintiff rights to the Assigned IP in exchange for
valuable consideration.
     As evidence that it provided MOC valuable consideration for an

implied license to Assigned IP, Plaintiff cites a February 1, 2013,
email from Tait, Plaintiff's CFO, to MOC's Snider,46 stating that
     [a]fter last year's transactions with Weatherford Inc.,
     we are now in a position to settle the Royalties due on
     the iiiTEC RFID business.

          The royalties are derived wholly from the
     Manufacturing and Distribution Agreement between iiiTec
     and Weatherford Inc. . .
          Under the Technology Agreement iiiTec is due to pay
     Marathon at a rate of 17.5%.          This amounts to
     $ 290,801.24." 47

     Citing§ 10.2 of the TDA, and Tait 1 s deposition testimony,
Defendants argue that paying technology development fees to MOC
does not constitute consideration for the alleged implied exclusive



     45
          Id. nn. 20-24.
     46
          Id. n. 22 (citing Appendix 1 at 2/1/2013).
      February 1, 2013, email from Tait to Snider and Fraley,
     47

Docket Entry No. 98-4.
                                     22
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 23 of 41



license because§ 10.2 of the TDA obligated Plaintiff to pay those

fees regardless of whether any Assigned IP was created or MOC
granted Plaintiff a license to any Assigned IP.48            Section 10.2 of
the TDA states that "[Plaintiff] shall pay to [MOC] a technology
development fee on the Gross Revenue of both sales or rental of all

Exclusive Tools and Non-exclusive Tools related to the Drilling
Field an.d the Coiled Tubing Field, regardless of [who] collects the

price     paid. " 49   Tait   testified     that   payment   of   technology
development fees was a contractual obligation under the TDA:

     Q:      So those technology development fees were owed by
             iiiTec to [MOC] pursuant to the terms of the [TDA],
             correct?
     A:       Yes, that's correct.50

     Plaintiff replies that "Defendants' consideration argument is

based on express contract authorities and does not support its

position." 51     Plaintiff argues that
     [w]hile the test       determining an implied license
     generally includes payment of consideration in exchange
     for a right to use, there is no authority that appl s
     the contractual consideration principles to an implied
     license, a legal assumption to which Defendants leap,
     without support.   In fact, in common implied license
     cases where the license is implied by a sale of a


     48
          Defendants' Response, Docket Entry No. 161, p. 5.
     49
          TDA, § 10.2, Docket Entry No. 1-2, p. 15.
      Oral and VideoTaped Deposition of Stuart Tait ( "Tait
     50

Deposition"), Exhibit 1 to Defendants' Response, pp. 108:18-21,
Docket Entry No. 167, pp. 29.
     51
          Plaintiff's Reply, Docket Entry No. 168, p. 3.
                                       23
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 24 of 41



     product, the consideration paid is precisely for the
     purchase of the product to which the implied license
     attaches. Met-Coil Systems Corp. v. Korners Unlimited,
         , 803 F.2d 684, 687 (Fed. Cir. 1986). Whether the
     obligation to pay the fee comes at the outset of the
     transaction, or later on, is not relevant for purposes of
     finding an implied license exists. 52
     Plaintiff's argument that "there is no authority that applies
the contractual consideration principles to an implied license,"

conflicts with both Texas contract law under which "[t]he elements

of a contract, express or implied, are identical," Plotkin, 304

S.W.3d at 476, and "consideration is a fundamental element of any
valid contract."     In re Capco Energy, 669 F. 3d at 280 (quoting


contract must be based upon a valid consideration").             Plaintiff's

argument also conflicts with the five-part test for determining the

existence of an implied license applied by the Federal Circuit in
Wang, 103 F.3d at 1579, which requires valuable consideration to be
given in exchange for an implied license.             In Wang the jury' s
finding that valuable consideration had been given was the only
element of the five-part test challenged.            Id.     Only        the
court concluded that substantial evidence          valuable consideration
appeared in the record did the court consider the legal conclusion

regarding the existence of an implied license.             Id. at 1579 80.
     In Met-Coil the Federal Circuit held that a "patent owner's
unrestricted sale of a machine useful only in performing the


           at 4.
                                    24
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 25 of 41



claimed process or producing the claimed product" is a circumstance

that "plainly indicate [s]      that the grant of a license          [to the

claimed process or product] should be inferred."            803 F.2d at 687.

But because Plaintiff's claim to an implied license is not based on
Plaintiff's purchase of a process or product from MOC, payment for

which would be valuable consideration for an implied license to use
the process or product purchased, the facts of this case are not

analogous to those at issue in Met-Coil.
     The consideration that Plaintiff contends supports its implied
license consists solely of the technology development fee of

$ 290,801.24 that Plaintiff paid to MOC in early 2013 "derived

wholly    from   the    [MDA]     between    Plaintiff     and   Weatherford

[Switzerland] . " 53 Missing from Plaintiff's briefing is any argument
or evidence from which a reasonable fact finder could conclude that

Plaintiff paid the technology development fee to MOC in 2013 in
exchange for an implied license to Assigned IP.            To the contrary,
undisputed   evidence     shows     that    the    TDA   executed   in   2008

contractually obligated Plaintiff to pay a technology development
fee to MOC on the gross revenue of both sales and rental of all

tools related to the Drilling Field and the Coiled Tubing Field
regardless of who collected the payment.              Because consideration
requires a present exchange, payment              the fee that Plaintiff was



      See February 1, 2013, Email from Stuart Tait to Philip
     53

Snider, Docket Entry No. 98-4.
                                     25
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 26 of 41



obligated to make under the TDA cannot serve as consideration for

another contract, i.e., an implied license for Assigned IP.              See
Roark, 813 S.W.2d at 496-97 (recognizing that fulfillment of a pre­

existing obligation cannot serve as consideration for a new or

different   contract).       Accordingly,     the   court   concludes   that

Plaintiff has failed to cite evidence capable of establishing the
element of consideration required to establish the existence of an
implied license to Assigned IP.          See Wang, 103 F.3d at 1579.


            (b)   Plaintiff Has Failed to Cite Evidence Capable of
                  Establishing Material Terms of an Implied License

     Asserting that the court
       sued an Order requiring [Plaintiff] to submit an
     opening letter brief "in support of the creation and
     terms of an implied license," [and that d] espite this
     clear direction and Order from the Court, nowhere in
     Opening L[etter] B[rief] does [Plaintiff] attempt to set
     forth the terms of its alleged implied license, 54
Defendants argue that        "[t] his           is not an oversight by

[Plaintiff because Plaintiff's] claim of an alleged implied license
falls apart when attempting to identify its terms." 55            Defendants

argue,   therefore,   that    Plaintiff's     alleged   implied   exclusive
license to Assigned IP from MOC fails for indefiniteness of

material terms and for failure to establish a meeting of the




         fendants' Response, Docket Entry No. 161, p. 4.


                                        26
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 27 of 41



minds. 56      In support of this argument,      Defendants assert that

Plaintiff "has repeatedly admitted in discovery that it cannot

identify the effective date of its alleged implied license, 1157 that

the overall duration of the alleged implied license is undefined, 58

and the alleged payment term is impermissible. 59

      Asserting that like Defendants' argument about consideration,

"Defendants' argument about lack of material contract terms also

looks to authorities covering express contracts, 1160 Plaintiff argues

that "[w] hat is             relevant is the property owner's intent

through the entire course of dealing, including the TDA, and the

extent that the license must be extended in order to give the

dealings validity. 11 61     Plaintiff contends that       "[t] here is no

meeting of minds obligation, but the parties did have a mutual

understanding that iiiTec was to be the exclusive licensee for

drilling and coiled tubing RFID tools. 1162 Plaintiff argues that the

authorities on which Defendants rely

      do not stand for the proposition that implied license
      terms must be expressly agreed between the parties. Such

      56
           Id. at 6-9.


      58
           Id. at 7-8.
      59
           Id. at 8-9.
      60
           Plaintiff's Reply, Docket Entry No. 168, p. 4.




                                    27
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 28 of 41



     a requirement would create an express, not an implied
     license. Defendants are not entitled to judgment that no
     implied license exists based on the fact that no express
     license exists.63

     Plaintiff's argument conflicts with Texas law under which
"[t]he elements of a contract, express or implied, are identical,"

and the difference between express and implied contracts "              in the

character     and     manner   of   proof   required   to   establish   them."
Plotkin, 304 S.W.3d at 476.           In the case of an implied contract,

the element of mutual agreement is inferred from the circumstances,

and a meeting of the minds is implied from and evidenced by the

parties' conduct and course of dealing. Haws & Garrett, 480 S.W.2d
at 609.     See also Klebe v. United States, 44 S. Ct. 58, 59 (1923)

("A contract implied in fact is one inferred from the circumstances
or acts of the parties; but an express contract speaks for itself

and leaves no place for implications."} ; Bitmanagement Software

GmBH v. United States, 989 F.3d 938, 948 (Fed. Cir. 2021) (quoting

Baltimore & Ohio Railroad Co. v. United States, 43 S. Ct. 425, 426
27 (1923) ("[A)n implied-in-fact license may be found only 'upon a

meeting of the minds' that 'is inferred, as a fact, from conduct of
the parties showing, in the light of the surrounding circumstances,
their tacit understanding.'")).
     The difference in the character and manner of proof required
to establish the existence and terms of an implied contract do not



     63
          Id. at 5.
                                       28
  Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 29 of 41



relieve     Plaintiff      of   the   need   to    cite   evidence   capable   of

establishing the terms.           Instead of pointing to any particular

actions or conduct from which a reasonable fact finder could infer
either terms of the alleged implied license or each party's mutual

assent to those terms, Plaintiff argues that the "[t]erms of an
implied license are [to be] determined by the court in order to

match the level of estoppel required by the facts of the case." 64

But Plaintiff fails to cite, and the court has failed to find, any
authority allowing either a jury or the court to supply terms to a

contract the parties were unable to complete by mutual agreement.
See Richter, 939 F.2d at 1196 (quoting University National Bank,

773 S.W.2d at 710).

     Moreover,        as   evidenced    by   the    deposition   testimony     of

Plaintiff's CFO, Tait, Plaintiff is unable to identifying either an
effective date or a period of duration for its alleged implied
license.     Regarding the effective date, Tait testified:

     Q:          . So the date that the license, the Exclusive
             Implied License to Assigned IP that you're claiming
             to have received from [MOC] was created is
             irrelevant?
    A:       That's what we're saying. 65



     Q:      So you can't identify - iiiTec can't identify a


     64   Id. at 3.
      Tait Deposition, p. 276:9-13, Docket Entry No. 167,
     65

p. 109.
                                        29
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 30 of 41



             specific date that the Implied License was created,
             it was just some date during the seven year
             timeframe from 2006 through 2013, correct?

     A:      Yes. 66
     Defendants argue, and the court agrees, that a meeting of the

minds cannot exist with respect to an effective date that Plaintiff
is unable to identify more specifically than some time from 2006 to
2013.67

     Regarding the implied license's duration, Plaintiff's Third

Amended Complaint alleges that
     56.     iiiTec's licenses to the Assigned IP last "so long
             as the Drilling Field and Coiled Tubing Field
             Technology Development Fees are paid to MOC and
             iiiTec is otherwise in compliance with its
             obligations.        This is consistent with the
             parties    overall    intent        the    related
             transactions.68
Yet, in response to interrogatories Plaintiff stated that

     iiiTec's implied license from [MOC] to the Assigned IP
     lasts for the life of the patent(s) for all developed
     RFID IP in iiiTec's respective fields of use, which
     fields are the drilling and coiled tubing fields .
     so long as the . . . Technology Development Fees are paid
     to [MOC] and iiiTec is otherwise in compliance with     s
     obligations under the TDA. 69


     66
             at 279:9-16, Docket Entry No. 167, p. 108.
     67
          Defendants' Response, Docket Entry No. 161, p. 9.
      Third Amended Complaint, Docket Entry No. 146, p. 18
     68
                                                                      1   56
(quoting TDA, § 9.9, Docket Entry No. 1 2, p. 14).
      Plaintiff iiiTec Limited's Objections and Responses to
     69

Defendant's Second Set of Interrogatories, Answer to
Interrogatory No. 1, Exhibit 4 to Defendants' Response, Docket
                                                   (continued ...)
                                    30
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 31 of 41



     When asked which duration term is accurate, Tait testified

that there were two schools of thought and that iiiTec had an

either/or position on that issue:

     Q:      So which - which duration term is accurate, the -
             the duration term set forth in Paragraph 56 of the
             Third Amended Complaint or the duration term set
             forth in the first paragraph of your response to
             Interrogatory No. 1?

             MR. LODHOLZ: Object to form.
     A:      I can understand your question.    I can only say
             that there are - there have been two schools of
             thought about this, and it looks as if we're
             covering both of our bases on this one.

     Q:           . So iiiTec doesn't have a firm position on
             what the duration of the alleged Exclusive Implied
             License to Assign IP from [MOC]   ?
             MR. LODHOLZ: Object to form.
     A:      I think you would have to say that iiiTec has an
               ther/or position here. 70
     Defendants argue, and the court agrees, that a meeting of the
minds cannot exist with respect to the duration of an alleged

implied license when Plaintiff is taking an "either/or" position
because Plainti      "cannot form a meeting of the minds internally on
which of multiple schools of thought to follow on the duration of
the alleged implied license. 1171



     69 (
          continued)
          •••
Entry No. 162-4, p. 5.
      Tait Deposition, pp. 67:19 68:11, Docket Entry No. 167,
     10

pp. 15-16.
     71   Defendants' Response, Docket Entry No. 161, p. 9.
                                    31
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 32 of 41



     Regarding the implied license's payment terms, Plaintiff's

Third Amended Complaint alleges that

     57.      iiiTec is only required to pay the development fee
              until   [MOC]   receives   (from  all   Developers
              collectively) return of the development funds, or
              until the total amount paid equals $23.7 Million. 72

The allegations in� 57 of the Third Amended Complaint conflict

with the express terms of the TDA, pursuant to which MOC was to

"provide funds of up to US$2 O million," 73 and the Developers, i.e.,

Plaintiff and Petrowell, were to "pay Fees to MOC for the term of

the Agreement or until the total amount of Fees paid to MOC equals

US$23. 7MM,    whichever occurs first. " 74    According to Plaintiff's

allegations in § 57 of the Third Amended Complaint, the implied

license changed the developers' obligation by reducing the total

amount of technology development fees to be paid to MOC to the

amount of development funds advanced, i.e., US$20 million, instead

of the US$23.7 million required under § 10.5.

     Missing from Plaintiff's briefing is any argument or evidence

that MOC ever took any action from which a reasonable fact finder

could infer that MOC agreed to the change in payment terms alleged

in� 57 of the Third Amended Complaint.           Moreover, since § 22 of

the TDA states that "[t]his Agreement may not be amended except in



     72 Third Amended Complaint, Docket Entry No. 146, p. 18 � 57

(quoting TDA, § 10.4, Docket Entry No. 1-2, p. 16).
     73   TDA, § 2, Docket Entry No. 1-2, p. 5.
     74
          Id. § 10. 5, Docket Entry No. 1-2, p. 16.

                                    32
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 33 of 41



writing signed       by    authorized    representatives    of   the   Parties

hereto, 1175 and Tait testified that Plaintiff has no writing signed
by authorized representatives of Parties as required by                  §   22

agreeing to the payment terms alleged in         1   57 of the Third Amended

Complaint, 76 the alleged payment terms of the implied license
represent an impermissible attempt to change the parties 1 express

agreement.     See   Bitmanagement, 989 F.3d at 949 ("the existence of
an express contract �recludes the existence of an implied-               fact

contract dealing with the same subject matter, unless the implied
contract is entirely unrelated to the express contract").
     Defendants argue, and the court agrees, that a meeting of the
minds cannot exist with respect to the payment terms of its alleged

implied license because the alleged payment terms of the implied
license violate      §   22 of the TDA. 77

     Because Plaintiff has not only failed to cite evidence capable
of establishing the effective date, duration, or payment terms of

the alleged implied license, but also acknowledged that it does not
know the effective date, duration, or payment terms of the alleged
implied license, the court concludes that Plaintiff is unable to
cite evidence capable of establishing material terms of the alleged

implied license.


              § 22, Docket Entry No. 1-2, p. 25.
      Tait Deposition, pp. 80:20-81:7, Docket Entry No. 167,
     76

pp. 19 20.
     77
          Defendants 1 Response, Docket Entry No. 161, p. 9.
                                        33
      Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 34 of 41



                 (c)   Plaintiff Has Failed to Cite Evidence Capable of
                       Establishing that Any Implied License was Exclusive

        Plaintiff argues that
        [a]s set out in Appendix 1, from the initiation of work
        involving iiiTec and [MOC] (around November 2006), [MOC]
        repeatedly and consistently referred to iiiTee as its
        "partner," its "exclusive" licensee or partner, and as
        controlling or having control over the drilling field
        licenses for the relevant RFID intellectual property. 78
Appendix 1 cites a November 21, 2006, letter from MOC to Plaintiff

stating that "it is everyone's full intent to finalize license

agreements,        including multi-year exclusivity to iiiTec for the

drilling applications in the RFID patent portfolio; " 79 an August              8,

2007,        communication from MOC's Snider stating that "iiiTec and
Petrowell are essentially our exclusive business partners in the
primary part of the portfolio that is coming to market; " 80 an August

15,     2007,      communication    discussing    a   planned   meeting    with
Weatherford in which Snider states that "the main message we plan

to give Weatherford           is   [that]    Petrowell and   iiiTec   are our
exclusive partners on the majority of the patent portfolio," 81 a

November 9, 2008, presentation prepared for Weatherford in which
MOC represented that           Petrowell and iiiTec had licenses           "for



        78
             Plaintiff's Letter Brief, Docket Entry No. 160, p. 6.
      Appendix 1 to Plaintiff's Letter Brief, Docket Entry
        79

No. 160, p. 13.
        80


        81
             Id. at 14.
                                        34
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 35 of 41



completion and drilling applications respectively;" 82 and a November

23, 2010, email string in which Plaintiff's Doig stated that the

"technology we use is under license from Marathon" and MOC' s Snider

responded that "Tom is correct." 83

     Whether considered alone or collectively, the evidence cited

by Plaintiff is not sufficient to establish that any implied

license MOC granted Plaintiff included the right to exclude others

from selling or practicing the Assigned IP.                See Rite-Hite, 56

F.3d at 1552-53        (" [A]   bare license to sell        [or practice] an

invention in a specified territory [or field], even if it is the

only license granted by the patentee, does not provide standing

without     the   grant    of   a   right   to   exclude   others.").     The

communications that pre-date the execution of the TDA in August of

2008 merely reflect MOC's willingness to enter an agreement with

Plaintiff, which MOC did by executing the TDA.             This conclusion is

corroborated by§ 22 of the TDA, which states that

      [t]his Agreement represents the entire agreement of the
     Parties with respect to the matters set forth herein, and
     replaces and supersedes all prior communications,
     understandings and agreements between the parties,
     whether oral or written, expressed or implied with
     respect to the matters addressed herein. 84

     The communications that post-date the execution of the TDA in



     82
          Id. at 15.


     84
          TDA § 22, Docket Entry No. 1-2, p. 24.
                                       35
      Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 36 of 41



August of 2008 do not mention Assigned IP or Plaintiff's ability to

exclude others from using any licensed technology.                    Instead, they

merely reflect that Plaintiff had a license to use MOC technology

for     drilling       applications. 85     Moreover,          undisputed      evidence

establishes that In-Depth granted Plaintiff a license to use MOC's

technology for drilling applications in 2006, and that license

remained in effect until 2017 when In-Depth terminated it for non-

payment.          Accordingly,    the      court     concludes     that     the    cited
communications that post-date the execution of the TDA are not
sufficient       to   establish     that    Plaintiff         possessed   an      implied

exclusive license to the Assigned IP.



                (d)   Conclusions
        The evidence that Plaintiff cites in support of its claim to
an implied exclusive license is distinguishable from the evidence
in Wang, which led the court to conclude that �the 'entire course

of conduct' between the parties                    over   a    six-year   period led
Mitsubishi to infer consent to manufacture and sell the patented

products."        103 F.3d at 1581 82.          The Wang court explained that
        [t]he record shows that Wang tried to coax Mitsubishi
        into the SIMM market, that Wang provided designs,
        suggestions, and samples to Mitsubishi, and that Wang
        eventually purchased SIMMS from Mitsubishi, before
        accusing Mitsubishi years later of infringement. We hold
        as a matter of law, that Mitsubishi properly inferred
        consent to its use of the invention of Wang's patents.



        85Id.

                                           36
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 37 of 41


          The findings that Wang bestowed "a right to use the
     SIMM invention" and that Mitsubishi supplied valuable
     consideration to Wang, support our holding that Wang's
     conduct created a license.     This falls short of the
     express licenses or assignments usually discussed i   . n
     conjunction with legal estoppel, but it constitutes part
     of a course of conduct that transcends "unilateral
     expectations . . . of one party." . . Wang not only led
     Mitsubishi to infer consent, Wang obtained payment.
     In sum, Wang consented to Mitsubishi's use of the
     invention, granted the right to make, use, or sell the
     patented SIMMs without interference from Wang, and
     received consideration. Therefore, we agree with the
     district court's determination .        that Mitsubishi
     possesses an irrevocable royalty-free license under the
     '513 patent.

Id. at 1582.

     Plaint    f has failed to cite evidence capable of establishing
that MOC licensed or assigned to Plaintiff a right to the Assigned
IP, received consideration, and then sought to deny Plaintiff the

right granted.      To the contrary, for the reasons stated in

§ III.B.2{a), above, the court has concluded that Plaintiff failed
to cite evidence capable of establishing that MOC received any
valuable consideration in exchange for the alleged implied license.

Nor has Plaintiff cited evidence capable of establishing that MOC
engaged in conduct from which Plaintiff could reasonably infer that
MOC consented to Plaintiff's use of the Assigned IP absent an

express license from either MOC or In-Depth.
     Quoting Tait, Plaintiff argues that its "position is that the
implied license is based on 'the whole body and conduct of the
parties over the period of time,'" and that "'having conducted our
business with [MOC] for ten years, we were working in the belief



                                    37
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 38 of 41


that we had a license to the Assigned IP.'" 86           But Plaintiff is

unable to point to any course of conduct from which a reasonable

fact finder could infer either the existence or terms of an implied
license to Assigned IP.      Instead, Plaintiff's claim to an implied
license to Assigned IP is based wholly on the text of the TDA, a
single payment of a technology development fee made in 2013, and a

few   informal   communications    in    which MOC's    Snider    confirmed
representations made by Plaintiff that Plaintiff was licensed to
MOC's RFID technology.      Because Plaintiff was licensed to MOC's
RFID technology pursuant to the express license that Plaintiff held

from In-Depth until 2017 when In-Depth terminated that license for
non-payment, Snider's communications confirming that Plaintiff was

licensed to MOC's RFID technology do not provide a sufficient basis
for the court to conclude that MOC granted Plaintiff an implied

license to the Assigned IP referenced in the TDA.            Moreover, for
the reasons stated in §§ III.B.2(b)-(c),           above,   the court has

concluded that Plaintiff also failed to cite evidence capable of
establishing either the existence or material terms of the alleged
implied license, or that the alleged implied license gave Plaintiff
the right to exclude others and assert claims in its own name. The
court therefore concludes that Plaintiff is unable to carry of its
burden of proving that MOC granted it an implied exclusive license.



      Plaintiff's Reply, Docket Entry No. 168, p. 6 (quoting
      86

Oral and VideoTaped Deposition of Stuart Tait, pp. 30:10-31:22,
Exhibit E to Plaintiff's Reply, Docket Entry No. 169-1, pp. 10-
11).
                                    38
     Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 39 of 41



c.     Application of the Court's Implied License Conclusions to the
       Claims Asserted in Plaintiff's Third Amended Complaint

       Plaintiff's Third Amended Complaint (Docket Entry No. 146),

reasserts the same claims asserted in the Second Amended Complaint,
and addressed in the court's December 1,              2020,   Memorandum and

Opinion       (Docket Entry No.    144),    i.e.,   claims for declaratory
judgment       (Counts I and II),     a claim for breach of contract

regarding the TDA (Count III), and a claim for attorney's fees
pursuant to the Federal Declaratory Judgment Act (Count IV) . 87
       The court's December 1, 2020, Memorandum and Opinion denied

Defendants' motion for summary judgment on Plaintiff's two claims

for Declaratory Judgment and breach of contract claim (Counts I­
III) based on conclusions that Weatherford failed to show beyond
dispute that Plaintiff does not have an implied exclusive license
to Assigned IP. 88         The court denied as premature Weatherford's
motion for summary judgment on the claim asserted in Count IV for

attorney's fees pursuant to the Declaratory Judgment Act. 89               The
court's conclusion that Plaintiff is unable to carry its burden of
proving that MOC granted it an implied exclusive license to the
Assigned IP is dispositive of the claims that Plaintiff has
asserted in this action.         Absent an implied exclusive license to



       87
            Third Amended Complaint, Docket Entry No. 146, pp. 36-44.
               at 13-18.
                at 47.
                                       39
      Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 40 of 41



the     Assigned    IP,    Plaintiff     lacks    either      constitutional    or

prudential standing to                Declaratory Judgment that Weatherford
does not have rights to any "Assigned IP" subject to                         iTec's
exclusive license (Count I), or, alternatively, that Plaintiff's
exclus         license    of    the   "Assigned   IP"    is    valid   and    binds
Weatherford (Count II), 90 and, therefore, cannot be entitled to
attorney's fees pursuant to the Federal Declaratory Judgment Act
(Count IV) . 91    Absent an implied exclusive license to the Assigned

IP, Plaintiff also lacks standing to assert a claim for breach of
contract regarding the TDA (Count III). 92              Accordingly, the court
concludes that Defendants are entitled to summary judgment on all

of Plaintiff's claims because Plaintiff                 unable to carry of its
burden of proving that MOC granted it an implied exclusive license
to the Assigned IP.



                          IV.   Conclusions and Order

        For the reasons stated in§ III.B, above, the court concludes
that Plaintiff has failed to cite evidence capable of establishing
that MOC granted Plaintiff an implied exclusive license to the
Assigned IP referenced in the TDA executed by Plaintiff and MOC.



      Memorandum Opinion and Order, Docket Entry No. 144, pp.
        90

12-18, 23 24, and 37.
              at 43.
              at 39-41.
                                         40
   Case 4:19-cv-03386 Document 179 Filed on 06/25/21 in TXSD Page 41 of 41



For the reasons stated in§ III.C, above, the court concludes that

Plaintiff lacks either constitutional or prudential standing to
assert its claims for Declaratory Judgment,           breach of contract

regarding the TDA, and attorney's fees pursuant to the Federal
Declaratory Judgment Act.      Defendants are, therefore, entitled to
summary judgment on all -of the claims asserted in the Third Amended

Complaint.    Accordingly,     Defendants'     request for dismissal of

Plaintiff's claims asserted at p. 19      1   5 of Defendants' Response to
Plaintiff's Letter Brief which the court reads as a motion for

summary judgment, Docket Entry No. 161, is GRANTED.

     SIGNED at Houston, Texas, on this the 25th day of June, 2021.




                                  SENIOR UNITED STATES DISTRICT JUDGE




                                    41
